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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MARYLAND

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          BRYCE CARRASCO,                       :    Civil Action
                      Plaintiff,                :
    v.                                          :    Case No. 21-532 (SAG)

M&T BANK,                                       :
         Defendant.                             :
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Why has the presiding judge been silent? The only rational explanation is that

Judge Gallagher is not administering the case in an impartial manner. The

silence of the judge plays to the advantage of the defendant. Is Judge

Gallagher intimidated by M&T Bank? There is no justification for the

Court’s silence. This is unacceptable. I have pointed out plain fraud on the

court, and Judge Gallagher has not said a word. I raised the issue of bad faith

months ago – judge Gallagher remained silent. It seems clear that judge

Gallagher is not impartial, and is actually allowing fraud to impact the

outcome of these proceedings. There is no other explanation.
